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                                Nos. 25-1812, 25-1813

                   UNITED STATES COURT OF APPEALS
                      FOR THE FEDERAL CIRCUIT

V.O.S. SELECTIONS, INC., PLASTICS SERVICES AND PRODUCTS, LLC, d/b/a GENOVA
      PIPE, MICROKITS, LLC, FISHUSA INC., TERRY PRECISION CYCLING LLC,
                                                            Plaintiffs-Appellees,
                                      v.

 DONALD J. TRUMP, in his official capacity as President of the United States, EXECUTIVE
 OFFICE OF THE PRESIDENT, UNITED STATES, PETE R. FLORES, Acting Commissioner
for United States Customs and Border Protection, JAMIESON GREER, in his official capacity
     as United States Trade Representative, OFFICE OF THE UNITED STATES TRADE
REPRESENTATIVE, HOWARD LUTNIK, in his official capacity as Secretary of Commerce,
                UNITED STATES CUSTOMS AND BORDER PROTECTION,
                                                                    Defendants-Appellants.


   STATE OF OREGON, STATE OF ARIZONA, STATE OF COLORADO, STATE OF
  CONNECTICUT, STATE OF DELAWARE, STATE OF ILLINOIS, STATE OF MAINE,
 STATE OF MINNESOTA, STATE OF NEVADA, STATE OF NEW MEXICO, STATE OF
                    NEW YORK, STATE OF VERMONT,
                                                       Plaintiffs-Appellees,
                                  v.

  PRESIDENT DONALD J. TRUMP, UNITED STATES DEPARTMENT OF HOMELAND
  SECURITY, KRISTI NOEM, Secretary of Homeland Security, in her official capacity as
  Secretary of the Department of Homeland Security, UNITED STATES CUSTOMS AND
BORDER PROTECTION, PETE R. FLORES, Acting Commissioner for United States Customs
and Border Protection, in his official capacity as Acting Commission er for U.S. Customs and
                            Border Protection, UNITED STATES,
                                                                      Defendants-Appellants.
      ______________________________________________________________
               On Appeal from the United States Court of International Trade
                  Nos. 25-66, 25-77, Judges Katzmann, Reif, and Restani
 _______________________________________________________________

   AMICI CURIAE OF ECONOMISTS NOTICE OF CORRECTION
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      Amici curiae file a corrected brief concurrently with this notice that includes

amicus Ben Harris, who was inadvertently excluded. There are no other changes.

Amici respectfully request that the Court accept the brief for filing.


Dated: July 9, 2025                         Respectfully submitted,


                                            /s/ Adam G. Unikowsky
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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 9th day of July, 2025, I caused the foregoing notice

to be electronically filed with the Clerk of the Court for the United States Court of

Appeals for the Federal Circuit by using the CM/ECF system, which caused a copy

of the foregoing to be delivered by electronic means to counsel of record.


                                                     /s/ Adam G. Unikowsky
